                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                              1:13 CR 79-6


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                   ORDER
                                       )
JIMMY DWAYNE LAWING.                   )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the

undersigned at the close of a Rule 11 proceeding that was held before this Court on

April 23, 2014. It appeared to the Court at the call of this matter on for hearing the

Defendant was present with his attorney, Jason Hayes and the Government was

present and represented through Assistant United States Attorney Don Gast. From

the arguments of counsel for the Defendant and the arguments of the Assistant

United States Attorney and the records in this cause, the Court makes the following

findings:

      Findings.    On December 3, 2013 a bill of indictment was issued charging

Defendant with conspiracy to traffic in methamphetamine in violation of 21 U.S.C.

§ 841(a)(1) and 846. On April 23, 2014, the undersigned held and inquiry, pursuant

to Rule 11 of the Federal Rules of Criminal Procedure and accepted a plea of guilty

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of the Defendant to that charge. At the end of the Rule 11 proceeding, this Court

presented the issue of whether or not Defendant should now be detained, pursuant

to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or
      (C) of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears Defendant has

entered a plea of guilty to conspiracy to violate 21 U.S.C. § 841(a)(1). That crime

is one of the crimes as set forth in 18 U.S.C. § 3142(f)(1)(C).

      The undersigned made an inquiry of Assistant United States Attorney Don

Gast as to whether or not there is going to be a recommendation that no sentence of

imprisonment be imposed upon Defendant. Mr. Gast advised the Court that such a

recommendation could not be made. As a result of the plea of guilty of Defendant,

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the undersigned cannot find there is a substantial likelihood that a motion for

acquittal or new trial will be granted. It would thus appear and the Court is of the

opinion that the Court is required to apply the factors as set forth under 18 U.S.C. §

3143(a)(2) which require the detention of Defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED, that Defendant be detained pending

further proceedings in this matter.

                                                      Signed: April 25, 2014




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